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\                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                    LOUISVILLE DIVISION

         UNITED STATES OF AMERICA

         v.

         JOHN F. JOHNSON
                                                 *****
                                       JURY INSTRUCTIONS

            ~Members of the jury, now I will instruct you about the law that you must follow
    · in deciding thi,s case. These instructions have three parts. First, ·we will discuss your
      duties and the general rules that apply in every federal criminal case. Second, I will
      explain the legal elements, or issues, that you must address to ·decide whether to
      convict the Defendant for the offense he is accused of committing. Then I will pause,
      and you will hear closing arguments from the lawyers-but those do not bind you like
      my iristructi01;is do. Third,, and finally, I will talk 'to you about how you jurors, as a
    : group, will deliberate and decide this case.

    I   I.      DUTIES OF THE JURY
    I

    i        You have two main duties as a juror. The first is to decide what the facts are.
    : You must make this decision based on the evidence that you saw and heard here in
    : the court. It is your job-not mine-.to decide what the facts are. Nothing that I have
    : said or done during this trial was meant to influence your decision about the facts in
    ; anyway.
    I

    !       Your second duty is to apply the law, as I explain it, to those facts that yo'-1 found
    I and decide whether the government has proved the Defendant guilty beyond a
    : reasonable doubt. ·My job is to instruct you about the law. You are bound by the oath
    ; you took at the beginning of the trial to follow the instructions that I give you, even if
    : you personally disagree with them. This includes the instructions that I gave you
      during the trial and these instructions now. All of the instructions are important, and
      you should consider them together as a whole.
                                            •                            I        •


               The: lawyers may talk about the law during their arguments. But if what they
        say is different from what I say, you must follow what I say. What the ju4ge says
        about the law controls.
              Please work hard to perform these duties carefully and fairly. Do not let any
    : bias, sympathy, or prejudice that you may feel toward one side or the other influence
    '. your decisiou- in any way. The parties and I expect that you will carefully and
    · impartially consider all of the evidence, follow the law as I give it to you, and reach a
       just verdict-regardless of the consequences.    1,




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           You are to consider only the evidence in the case. Unless I instruct you
     otherwise,· the evidence in this case consists of the sworn testimony of the witnesses
     (regardless of who called them), all exhibits received in evidence (regardless of who
     p~oduced them), and all facts and events that may have been admitted or stipulated
     to.
               '                                     \

 ,          Statements and arguments by lawyers are not evidence. The lawyers are not
 1
     witnesses. What they have said in their opening statements, closing arguments, and
     at other times is intended to help you understand the evidence, but it is not evidence .
          .Another part of your job as.jurors is to decide how credible, or believable, each
    witness was. This is your job, not mine. It is up to you to decide if a witness's
    testimony was believable and how much weight yo-q. think it deserves. You are free to
    believe everything that a witness said, or only part of it, or none of it at al1, But you
 !  should act reasonably and carefully in making these decisions. Use your common
I ; sense and your everyday experience in dealing with other people, and then decide what
  . testimony you believe and how much weight you think it deserves. The weight of the
  , evidence does not necessarily depend upon the number of witnesses who testify for
    either side.
          Some of you may have heard the terms "direct evidence" and "circumstantial
   evidence." Direct evidence is simply evidence, like. the testimony of an eyewitness,
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   which (if you believe it) would directly prove a fact. If a witness testified that he saw
   it raining outside, and you believed him, that would be direct evidence that it was
 : rammg. Circumstantial evidence is simply evidence that tends to prove a fact
 ! indirectly. If someone walked into the courtroom wearing a raincoat covered with
 : drops of water and___,,carrying a wet umbrella, that would be circumstantial evidence
 ; from which you could infer that it was raining,. Your job is to decide how much weight
 I to give the direct and circumstantial evidence.

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          The law makes no distinction between the weight that you should give to either
 I direct or circumstantial evidence. It does not say that one is any better evidence than
 : the other. You should consid.er all the evidence, both direct and circumstantial, and
 ; give it whatever weight you believe it deserves.
                                     Opinion Testimony
            You heard some testimony that came in the form of t~e witness's opinion. You
      do not necessarily have to accept the opinion of a witness. In deciding how much
      weight to give it, you should consider the witness's qualifications and how he or she
      reached that conclusion. Remember that you alone decide how much of a witness's
      testimony to believe, and how much weight it deserves.                  '
          Presumption of Innocence, Burden of Proof, and Reasonable Doubt
         The Defendant has pled not guilty to the crime charged in the indictment. An
 : indictment is not evidence; it is just the formal way that the Government tells a
   defendant what crime he is accused of committing.
           The law presumes that all defendants are innocent. This Defendant, like all
     defendants, starts trial with~ clean slate, and without any evidence at all against him.

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 It is not up to him to prove that he is are innocent; it is up to the Government to present
 evidence that overcomes this presumption.
        The United States has the burden of proving its case against the Defendant
 "beyond a reasonable doubt." A reasonable doubt is a doubt based on reason and
 common sense. It may arise from the evidence or the lack of evidence. Proof beyond a
 reasonable doubt does not mean proof beyond all possible doubt, but doubts based
 purely on speculation are not reasonable. Proof beyond a reasonable doubt means
 proof that is so co;nvincing you wouldn't hesitate-to_ rely and act on it in making the
 most important decisions in your own lives.
          For you to find the Defendant guilty, you must decide that the Government has
. proved each element of the crime beyond a reasonable doubt. If you are convinced of
: this, then return a guilty verdict. If you are not convinced the Government has proved
  each element of the crime beyond a reasonable doubt, then return a not guilty verdict.
                                Defendant's Testimony
        You have heard the Defendant testify. Earlier, I talked to you about the
 "credibility" or "believability" of the witnesses. And I suggested some things for you to
 consider in evaluating each witness's testimony. You should consider those same
 things in evaluating the Defendant's testimony.
                                        Objections
         The lawyers for both sides may have objected to some of the things that were said
· or done during the trial. Do not hold that against either side. The lawyers have a duty
  to object whenever they think that something is not permitted by the rules of evidence.
  Those rules are designed to make sure that both sides receive a fair trial. And do not
  interpret my rulings on their objections as any indication of how I think the case should
  be decided. My rulings were based on the rules of evidence, not on how I feel about the
  case.




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    II.       RULES OF LAW

           The Defendant is on trial only for the -particular crimes charged in the
    indictment: using a deadly or dange.rous weapon to forcibly assault, resist, opp ose, 1



    impede, intimidate, or interfere with a federal. officer wp.ile engaged in his official
    duties, and using a deadly or dangerous weapon during 1and in relation to a crime of
    violence. Your job is limited to deciding whether the Government has proved the crime
    charged.                                                        '

                                Count 1- 18 U.S.C. § lll(b)
                                                        l__

         Federal law prohibits forcibly assaulting, resisting, opposing, impeding,
 intimidating, or interfering with a federal officer who is performing official duties. The
. government charged the Defendant with using a deadly or d?l,ngerous weapon to do so.
  Conviction for this crime requires the Government to prove the following facts beyond
  a reasonable doubt: (1) the Defendant used a deadly or dangerous weapon to (2) forcibly
  (3) assault, resist, oppose, impede, intimidate, or interfere with (4) a federal officer who
-was engaged in the performance of an official duty.

        Acting "forcibly" can include either proof of actual physical contact or, in the
,absence of physical contact, an intentional threat or display of physical aggression
 toward the officer that inspires fear of pain, bodily harm, or death. This includes any
 intentional display of force that would cause a reasonable person to expect;immediate
land serious bodily harm or death, regardless of whether the act is carried out or the
iperson is actually injured.

j       A "deadly or dangerous weapon" includes any object' that a person can readily
          ·


luse to inflict serious bodily harm on someone else. 'To show that such a weapon was
I
"used," the Government must prove that the Defendant possessed the weapon and
:intentionally displayed iti

         The Government rriust alsb prove beyond a reasonable doubt that the victim was
. :a federal officer performing an official duty. Whether the Defendant knew at the time
  that the victim was a federal officer carrying out an official duty does not matter.
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       But you can't find the Defendant committed this offense if you believe that the
:Defendant acted only on a :ueasonable good-faith belief that self-defense was necessary
to protect against an a~sault by a private citizen, and you have a reasonable doubt that
~he Defendant knew that the victim was a federal officer.

                           Count 2 - 18 U.S.C. § 924(c)(l)(A)

           It's a separate federal crime for anyone to use a firearm during and in relation
    to a crime of violence that may be prosecuted in a court of the United States. For you
    to find the Defendant guilty of this crime, you must find that the Government has
    proved each and every one of the following elements beyond a reasonable doubt: that
    the Defendant (1) knowingly used or carried a firearm (2) during· and in relation to the

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  crime ch~rged in Count 1, which requires the use of a dangerous or deadly weapon to
  forcibly assault, resist, oppose, impede, intimidate, or interfere with a federal officer
· while the officer is engaged in the performance of his official duties.

         To establish "use," the Government must prove active employment of the firearm
; during and in relation to the crime charged in Count. 1. "Active employment" means
· activities such as brandishing, displaying, bartering, striking with, and most obviously,
  firing or attempting to fire, a firearm. "Use" also includes a person's reference to a
  firearm in his possession for the purpose of helping to commit the crime charged in
  Count 1. "Use" requires more than mere possession\ or storage.

          The term "firearm" means any weapon which will or is designed to or may readily
    be converted to expel a projectile by the action of an explosive. The firearm need not be
    loaded.

          The term "during and in relation to" means that the firearm must have some
·purpose or effect with respect to the ·crime charged in Count 1; in other words, the
·firearm must facilitate, or further, or have the potential to facilitate or .further that
'crii;ne. And its presence or involvement cannot be the result of accident or coincidence.
 The term "knowingly" means voluntarily and intentionally, and not because of mistake
 or accident.
        The Government need not prove that a particular firearm was used or carried
;during and in. relation to the crime of violence. If you are convinced that the
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 Government has proved all of these elements, then return a guilty verdict on this
icharge. If you have a reasonable doubt about any of these elements, then you must
'find the defendant not guilty of this charge.

        The verdict form below contains a question regarding brandi~hment. Answer
.this question if and only if you find the defendant guilty on Count 2: Brandishing a
·.firearm means the Defendant displayed all or part of the firearm, or· otherwise made        1


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jthe presence of the firearm known to· another person, in order to intimidate that
\person, regardless of whether the firearm ~as directly visible to that person.




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        III.      JURY DELIBERATIONS
              When you go back to the jury room, you will select one juror to act as your
        foreperson. The foreperson will preside over your deliberations and will serve as your
        spokesperson here in courtroom.

        Please take the instructions to the jury room. When you have reached a
i.unanimous agreement, the foreperson should complete the attached verdict form, write
: the date, and sign the verdict. form on behalf of the jury.

               Some of you may have taken notes during the trial. Any juror may use notes to
        refresh his or h~r memory of evidence presented at trial, but you should not rely on the
        notes as definitive fact qr as evidence. ·Juror notes do not necessarily carry any greater
        weight than memory. And a juror's memory unaided by notes is just as significant as a
        juror's memory that is not. Jurors should not be influenced by another juror's notes.

         Once you start deliberating, talk about the case only with other members of the
 ·jury-not with the security officer, or me, or anyone else. If you have any questions or
  ;messages, you must write them down on a piece of paper, sign them, and give them to .
  ithe security officer. He will give them to me, and I will res?ond as soon as I ~an. I will
. have to talk to the lawyers about what you have asked, so 1t may take some time to get
   back to you. Any questions or messages normally should be sent to me through your
   foreperson. Do not ever write, down or tell ~nyone outside the jury room how you stand
   on your votes. That should stay secret until you are finished.

    1     It is your duty as jurors to consult with one another with a view to reaching an
  !agreement if you possibly can at least do so without going against your individual
· ljudgment. You must each decide this case for yourself, but only after you impartially·
  \consider the evidence with your fellow jurors. During your deliberations, if you become
  !convinced yo.ur own view js wrong, do not hesit~te to reexamine your views and change
  '.your opinion. But do not surrender your honest conviction regarding the weight or effect
  bf the evidence solely because of the opinion of your fellow jurors, or merely so the group        1


  pan finish and return a verdict.            ·
        !


        J      Your verdict or answer to any question must be unanimous. All twelve members
        pf the jury must agree on every answer to the questions and on the verdict.

        \     If you dedde that any of the Defendant is g~ilty, then it will be my job to decide
        ~hat the appropriate punishment should be. You may not consider punishment in
        reaching your verdict-only w~ether the Government has met its burden.
        [     . The verdict form below has been prepared for your convenience. You will take
        this form to the jury room and, when you have reached a verdict, fill it out according to
        the jury's decision. You will then tell the officer and return with your verdict to the
        eourtrpom. All twelve of you must unanimously agree on the verdict.
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